        Case 1:21-cr-00626-PLF Document 36 Filed 10/07/22 Page 1 of 20




                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


  UNITED STATES OF AMERICA,
                                             Criminal No. 21-cr-626
        v.
                                             DEFENDANT GUNBY’S MOTION TO
                                             CHANGE VENUE TO DISTRICT OF
  DEREK COOPER GUNBY,
                                             SOUTH CAROLINA, GREENVILLE
                                             DIVISION
                     Defendant.


      COMES NOW Defendant Derek Cooper Gunby (“Gunby”), by and through

undersigned counsel John Pierce, with this Motion to change venue for this trial to

the U.S. District of South Carolina, where Gunby was arrested and where evidence

was searched and seized. A jury pool and venire drawn from the District of South

Carolina will be more fair and less biased than a jury pool and venire drawn from

the District of Columbia.

      (Gunby has already requested and consented to trial by bench, the Honorable

Judge Friedman, in the District of Columbia.) In the event this motion to change

venue is granted, however, defendant Gunby seeks a trial by jury in South Carolina

presided over by either Judge Friedman or a suitable District Judge from the

District of South Carolina.

      In the event this motion is granted and venue is transferred to South

Carolina, Gunby requests a jury of his peers drawn from a cross section of the

community in South Carolina.
        Case 1:21-cr-00626-PLF Document 36 Filed 10/07/22 Page 2 of 20




      MEMORANDUM OF POINTS AND AUTHORITES

      Defendant Mr. Gunby, by and through counsel, pursuant to Rule 21(a) of the

Federal Rules of Criminal Procedure as well as the Sixth Amendment right to a fair

trial and the Fifth Amendment right to due process, requests a change of venue due

to significant prejudice in the District of Columbia prohibitive of a fair and

impartial trial, invoking his right to a fair trial by an impartial jury under the Fifth

and Sixth Amendments. Mr. Gunby asserts that detrimental pretrial publicity and

community prejudice in Washington D.C. is so likely to have affected the jury pool

that the venire must be presumed as tainted. Mr. Gunby proposes that this matter

be moved to the U.S. District of South Carolina, Greenville Division, where he

resides, and where witnesses for the Defense reside.

      I. FACTS

      1. Mr. Gunby was arrested in the District of South Carolina after an arrest

warrant was issued in Washington, D.C., for his alleged conduct at the Capitol on

January 6, 2021.

      2. The evidence in this case is centered around the January 6 Capitol

incident, the 2020 Presidential election, discussions of politics, and Mr. Gunby’s

support for the president, Donald Trump. The majority of the Government’s
         Case 1:21-cr-00626-PLF Document 36 Filed 10/07/22 Page 3 of 20




evidence against Mr. Gunby is his discussion of politics. This case is factually and

legally political.

        3. The District of Columbia is our nation’s capitol. It is legally,

constitutionally, and culturally distinct from every other city or state. Because of

D.C.’s status as the seat of the United States government, its residents are

overwhelmingly loyal to, employed by, and benefit from the United States

government. D.C. residents are a branch and a component of the plaintiff and

prosecution in this case.

        4. The D.C. jury pool are the peers of the prosecutor rather than the

defendant.

        5. The United States has presented and depicted the demonstrations of Jan. 6

as an “attack” on the Capitol. And D.C. residents, overwhelmingly, view the

events as an “attack” on themselves, as shown below.

        6. The District Court for the District of Columbia draws its jury pool solely

from the residents of the District of Columbia. In the 2020 Presidential Election,

94.6% of District of Columbia voters voted against Donald Trump.

        7. In the 2016 Presidential Election, 95.9% of District of Columbia voters

voted

against Donald Trump.
        Case 1:21-cr-00626-PLF Document 36 Filed 10/07/22 Page 4 of 20




      8. About 33% of employed Washington D.C. residents work for the

government.

      9. Surveys and studies show the United States of America has become

increasingly politically divided and polarized in recent years.

      10. Democrats specifically have been exposed to heightened levels of media

attention focusing on the Capitol incident at issue in this case.

      11. President Biden and other prominent Washington D.C. Democratic

politicians have decried protestors present during the Capitol incident as “white-

supremacists,” “domestic terrorists,” and dubbed the event an “insurrection.”

      12. Lawmakers and the media have given the Capitol Incident overwhelming

coverage casting negative light on all those involved including Mr. Gunby.

      II. LEGAL STANDARD

      The Fifth Amendment and the Sixth Amendment entitle criminal defendants

to a fair trial by an impartial jury. “The great value of the trial by jury certainly

consists in its fairness and impartiality.” United States v. Burr, 25 F. Cas. 49, 51

(CC Va. 1807). An impartial jury is required under the Constitution and has been

required since the times of common law. Id; see also Patton v. Yount, 467 U.S.

1025 (1984). “A fair trial in a fair tribunal is a basic requirement of due process.”

In re Murchison, 349 U.S. 133, 136 (1955). Federal Rule of Criminal Procedure
          Case 1:21-cr-00626-PLF Document 36 Filed 10/07/22 Page 5 of 20




21(a) instructs that district courts “must transfer the proceeding . . . if the court is

satisfied that so great a prejudice against the defendant exists in the transferring

district that the defendant cannot obtain a fair and impartial trial there.”

      While the Sixth Amendment provides a right to trial by “jury of the State

and district wherein the crime shall have been committed,” the Constitution's

place-of-trial prescriptions do not impede transfer of the proceeding to a different

district at the defendant's request if extraordinary local prejudice will prevent a fair

trial. Skilling v. United States, 561 U.S. 358 (2010); see also Sheppard v. Maxwell,

384 U.S. 333, 362 (1966) (“Due process requires that the accused receive a trial by

an impartial jury free from outside influences.”)

      The Supreme Court has overturned convictions where the district court

failed to transfer for venue after prejudicial pretrial publicity. See, e.g., Rideau v.

Louisiana, 373 U.S. 723 (1963); Estes v. State of Texas, 381 U.S. 532 (1965);

Sheppard v. Maxwell, 384 U.S. 333 (1966). The Supreme Court has also reversed

convictions where there was a “huge . . . wave of public passion” and where the

venire possessed “a belief in [defendant’s] guilt.” Irvin v. Dowd, 366 U. S. 717,

728 (1961) (vacating a conviction and death sentence for the trial court’s failure to

transfer venue for community publicity); see also Patton v. Yount, 467 U.S. 1025

(1984).
        Case 1:21-cr-00626-PLF Document 36 Filed 10/07/22 Page 6 of 20




      Later, in Nebraska Press Assn. v. Stuart, 427 U.S. 539 (1976), and then

again in Skilling v. United States, 561 U.S. 358 (2010), the Supreme Court clarified

that “pretrial publicity—even pervasive, adverse publicity— does not inevitably

lead to an unfair trial.” See Neb. Press Ass’n v. Stuart, 427 U.S. at 554. Instead, a

combination of factors needed to be considered in determining the appropriateness

of change of venue. See Skilling v. United States, 561 U.S. 358 (2010). In Skilling,

the Supreme Court explained that cases previously reversed on appeal for failure to

change venue had trials that were tainted by an atmosphere “utterly corrupted by

press coverage.”

      561 U.S. at 380. Skilling explained that the court must have proof of “vivid,

unforgettable information . . . particularly likely to produce prejudice” in

determining that a fair trial is untenable. Id.

      Over the past few decades, we have seen federal courts interpret the

Supreme Court’s venue case law as requiring a show of community effect, in

addition to a show of pretrial publicity. For example, in United States v. McVeigh,

an Oklahoma district court ruled that the “emotional burden of the explosion and

its consequences” and the community prejudice against the defendants accused of

the bombing in Oklahoma City was so great that they could not obtain a fair and

impartial trial in the state of Oklahoma. 918 F. Supp. 1467 (W.D. Okla. 1996). A

decade later, in United States v. Awadallah, a New York district court stressed that
           Case 1:21-cr-00626-PLF Document 36 Filed 10/07/22 Page 7 of 20




“the effects that a massive, disastrous event has wrought on the jury pool as a

whole” are more relevant to a change of venue request than pretrial media publicly.

457 F. Supp. 2d 246 (S.D.N.Y. 2006).

      After Skilling, district courts began analyzing the four factors that the

Supreme Court evaluated in determining whether a change of venue is warranted:

(i) the size and characteristics of the community; (ii) the nature and extent of the

pretrial publicity; (iii) the proximity between publicity and the trial; and (iv)

evidence of juror partiality. Skilling 130 S.Ct. at 2915-17. The Skilling standard

and analysis applies to the matter at hand.

      III. ARGUMENT
      I.       A trial in Washington D.C. for Mr. Gunby would be by jurors who

voted almost unanimously against Donald Trump, who have been barraged with

propaganda about a “white nationalist” attack, who are continuously told they were

victims of an “insurrection,” who were placed under curfew and locked down as a

result, and who have been placed under seemingly endless military hold because of

danger posed by “Domestic Violent Extremists.” The unavoidable community

prejudice, and particularized prejudice against Mr. Gunby, render the venire so

greatly prejudiced against him that Mr. Gunby cannot obtain a fair and impartial

trial in Washington D.C. Review of the Skilling factors weighs Mr. Gunby’s case

in favor of transfer.
        Case 1:21-cr-00626-PLF Document 36 Filed 10/07/22 Page 8 of 20




      1. Skilling Factor 1: The Size and Characteristics of the Community

      Washington D.C. is both a small and highly insular political community

rendering it unable to produce an impartial jury in Mr. Gunby’s case. Washington

D.C. is a relatively small community, with a population of about 700,000, and an

estimated potential jury pool of less than 500,000.

      About 33% of employed Washington D.C. residents work for the

government, considerably reducing the eligible jury pool for a case where

government employment will likely cause a bias.

      Moreover, approximately 95% of the voters in D.C. voted against Donald

Trump, rendering Washington D.C. as having the least diverse political population

as compared to each of the fifty states. Election results: The 2020 presidential race,

Politico.com (2021), https://www.politico.com/2020-election/results/ 38 president/

(last visited Mar. 22, 2021).

      Further, since the Capitol incident polarization and bias against supporters of

Donald Trump has exploded further foreclosing the possibility of empaneling a

neutral jury. The D.C. jury pool, already politically averse to Donald Trump

supporters, has been barraged with political propaganda from U.S. politicians and

coverage of the same by the media following the January 6 incident. According to
        Case 1:21-cr-00626-PLF Document 36 Filed 10/07/22 Page 9 of 20




a Pew Research Center poll, Democrats were significantly more likely to hear

about the Capitol incident than Republicans.

      Washington D.C. provides a small, uniform pool of people when compared

to Houston in the Skilling case, which had a “large, diverse pool” of 4.5 million

eligible jurors. Skilling 561 U.S. at 382. Indeed, Washington D.C. is more similar

to the community in Rideau, a small town of 150,000 residents; or even Puerto

Rico, which has “a compact, insular community” of approximately 3 million

people. Skilling, 130 S.Ct. at 2915; United States v. Casellas-Toro, 807 F.3d 380,

385 (1st Cir. 2015); see also Mu'Min v. Virginia, 500 U.S. 415 (1991) (potential

for prejudice mitigated by the size of the Eastern District of Virginia, “which has a

population of over 3 million”); but see Gentile v. State Bar of Nev., 501 U.S. 1030

(1991) (reduced likelihood of prejudice where venire was drawn from a pool of

over 600,000 individuals).

      2. Skilling Factor 2: Nature and Extent of the Pretrial Publicity
      The pretrial notoriety of the Capitol incident is more complicated, publicized

and widespread than any other criminal matter in Washington D.C.’s history.

Aside from media publicity, there is extensive political publicity for the Capitol

cases. It appears that every local D.C. politician, and every national politician

working in D.C., has chimed in on this case. More fuel was added to the fire as

Democrats, the party that mirrors the beliefs of 95% of the D.C. jury pool, started
       Case 1:21-cr-00626-PLF Document 36 Filed 10/07/22 Page 10 of 20




referring to the individuals involved in the Capitol incident as “white

supremacists” and “insurrectionists” — during a time of exceptional political

divide in the United States.

      President Biden made a recent speech on racial tensions in the U.S. in which

he referred to the Capitol arrestees as “a group of thugs, insurrectionists, political

extremists, and white supremacists.” The Biden administration warned that these

people were “ideologically-motivated violent extremists with objections to the

exercise of governmental authority and the presidential transition, as well as other

perceived grievances fueled by false narratives.” (Notably, not a single one of the

more than 300 arrested Capitol defendants have been charged with terrorism, hate

crimes, or insurrection — contrary to what the Biden administration warnings

would imply.)

      This rhetoric combined with the already small and politically homogenous

community Washington D.C. presents raises grave concerns about the ability to

empanel a fair jury in the venire. Further, at least 26,000 National Guard troops

took over Washington, D.C. in the wake of the Capitol incident.

      Washington D.C. residents were impacted emotionally, visually, and

physically by the military restrictions. Washington D.C. resident Andrew Kovacs

told NPR, “It feels like Gotham City from the Batman movies where we are kind
       Case 1:21-cr-00626-PLF Document 36 Filed 10/07/22 Page 11 of 20




of on our own, locked in the city here. You know, with the bridges closing out of

Virginia, it feels like it's just us, and the whole world is watching.” Brandon

Stryder explained the practical struggles of living inside of a military enclosure,

saying, “There’s a checkpoint actually set up right by our building. A few nights

ago, we were trying to pull our car out to go get groceries and they put a cinder

block, blocking the alleyway so we couldn't even exit the parking garage.” 6 D.C.

resident Yolanda Inchauregui told NPR, “I feel like I'm in a war.”

      Moreover, D.C. residents feel that they are being punished for the

wrongdoing of the “mob attack on the Capitol,” with one D.C. resident expressing

that, “a fence punishes the wrong people.” This sentiment that someone needs to be

punished for impacting the D.C. community is further evidence that this insular

community cannot fairly serve as an unbiased venire in this case.

      Washington D.C. residents, who were already predisposed to political bias

against the Capitol defendants, had their bias cemented by the burden of enduring a

militant response to the January 6 incident. Furthermore, the tensions in the city are

suggestive of the residents’ predisposition to “punish” Capitol incident defendants.

      Between the media’s concentration on Mr. Gunby, the political response to

the Capitol incident, and the relentless media coverage of political statements made

about the Capitol defendants, this case is rendered into the type of exceptional
       Case 1:21-cr-00626-PLF Document 36 Filed 10/07/22 Page 12 of 20




circumstance that warrants a transfer of venue, as the presumption of prejudice is

unavoidable.

      4. Skilling Factor 4: Evidence of Juror Partiality
      Skilling emphasized “the kind of vivid, unforgettable information the Court

has recognized as particularly likely to produce prejudice,” when considering the

factor of jury partiality. Skilling, 561 U.S. at 383. The Capitol incident was in

itself, vivid and unforgettable. Of course, the media’s constant replay of the

imagery has made sure that no one can forget it. But the imagery for D.C. residents

did not stop at the Capitol. The closure of Washington D.C. throughout 2021, the

physical appearance of Washington D.C. as a military state for months after the

Capitol incident, the restrictions on D.C. residents’ movement, the nonstop media

discussion about the incident, the nonstop political attacks on the individuals

involved with the incident as “insurrectionists,” the firing of individuals associated

with the incident — combine together to form the type of vivid, unforgettable

information that inarguably leads us to presume bias for the entire venire.

      Moreover, the fact that approximately 95% of the voters in D.C. voted

against Donald Trump, yet the facts of this case require the jury to be entirely

open-minded to a political case that prominently features Donald Trump, during a

time of exceptional political divide in this country, weighs heavily on juror

partiality. Juror bias against Mr. Gunby cuts deeper, still. President Biden
        Case 1:21-cr-00626-PLF Document 36 Filed 10/07/22 Page 13 of 20




denounced Trump supporters as “thugs, insurrectionists, political extremists, and

white supremacists.” Mr. Gunby is being scapegoated for our societal race

problems and being used by Democrat commentators as an example of someone

who should be socially reprimanded.

       Those who control the political narrative are sending a message to all

prospective jurors that anything but a guilty verdict will be unacceptable. Nancy

Pelosi has made it clear that voting in favor of conviction of “insurrection” is

“courage,” while voting against conviction is “pathetic.”




       According to a 2021 research paper by scientists from six U.S. universities,

political positions are influencing Americans’ decisions to the point of irrationality.

“For example, research has found that employees accept lower wages to work for

politically like-minded entities,” amongst other unsound decisions driven primarily

by politics. Political polarization “ultimately deprives individuals of intellectual

diversity, among other things,” the researchers concluded. This research leads to

the inevitable conclusion that the insular politics of Washington D.C. are a

significant risk to a fair trial by an impartial jury in a case that is entirely political,

with a defendant who was marred by the media as a polarizing political figure.
       Case 1:21-cr-00626-PLF Document 36 Filed 10/07/22 Page 14 of 20




      Mr. Gunby is entitled to a fair trial. The growing number of personal attacks

on Mr. Gunby by the media and on social media, compounded by the prejudicial

community impact on Washington D.C. that arose out of the city’s response to the

January 6 Capitol incident, have effectuated pretrial prejudice against Mr. Gunby

in Washington D.C. that is so likely to have permeated the jury pool with prejudice

that the venire must be presumed as tainted. This case is the embodiment of the

“huge . . . wave of public passion” that was seen in Dowd. 366 U.S. at 728. Mr.

Gunby’s case meets and exceeds the standard set out in Rule 21(a) and in Skilling.

      A. Voir Dire Is Ineffective In Cases of Emotional Pretrial Publicity
      Rule 21(c) of the Federal Rules of Criminal Procedure states that “[a]

motion to transfer may be made at or before arraignment or at any other time the

court or these rules prescribe.” The D.C. Circuit has historically preferred voir dire

of potential jurors as a means of dealing with pretrial publicity, instead of deciding

on transfer under Rule 21(a) as raised “at or before arraignment,” under Rule 21(c).

See United States v. Haldeman, 559 F.2d 31, 60, 63-64 (D.C. Cir. 1976).

      Taking this position further, the D.C. Circuit had placed a burden on the

defense that was higher than the standards of the Federal Rules of Criminal

Procedure. Instead of requiring a showing of a great prejudice under Rule 21(a),

the D.C. Circuit imposed a higher standard of “extreme circumstances.” See

United States v. Edmond, 52 F.3d 1080, 1099 (D.C. Cir. 1995); United States v.
           Case 1:21-cr-00626-PLF Document 36 Filed 10/07/22 Page 15 of 20




Childress, 58 F.3d 693, 706 (D.C. Cir. 1995). After Skilling, D.C. Circuit’s

“extreme circumstances” test became insufficient and has been replaced with the

four-prong analysis as outlined supra. While the Supreme Court in Skilling did not

bar a court from deferring the decision on a change of venue motion until voir dire,

the Skilling court did not abrogate Rule 21 either.

         While there are cases where time and thorough voir dire may be sufficient to

correct for pretrial publicity, emotional publicity and community publicity cannot

be cured through either time or voir dire. Of particular importance on this are the

finding from On the Effectiveness of Voir Dire in Criminal Cases With Prejudicial

Pretrial Publicity: An Empirical Study, which found that voir dire challenges are

insufficient and ineffective at weeding out biased jurors in cases with prejudicial

pretrial publicity.1 “The net effect of careful voir dire concerning pretrial publicity,

therefore, was nil, and the bias created by the publicity survived voir dire

unscathed.” 2




1
 Kerr, N L, et al. “On the Effectiveness of Voir Dire in Criminal Cases With
Prejudicial Pretrial Publicity: An 64 Empirical Study.” Am. University Law
Review, vol. 40, no. 2, 1991, pp. 665–701, https://
www.ojp.gov/library/abstracts/effectiveness-voir-dire-criminal-casesprejudicial-
pretrial-publicity-empirical.
2
    Id. at 697.
           Case 1:21-cr-00626-PLF Document 36 Filed 10/07/22 Page 16 of 20




         Furthermore, “emotional publicity” could not be cured, not even through

time and continuances. 3 See also Patton v. Yount, 467 U.S. 1025, 1031 (1984)

(“[A]dverse pretrial publicity can create such a presumption of prejudice in a

community that the jurors' claims that they can be impartial should not be

believed”). Emotional publicity was defined as the kind of sensational publicity

likely to arouse an emotional response.

         Mr. Gunby’s case is full with emotional pretrial publicity. The

unprecedented community prejudice in Washington D.C., the unprecedented

amount of political and media commentary on the criminal case, the staggering

amount of emotion that charged the 2020 Presidential election, and the emotional

socio-political issues at the heart of the publicity surrounding Mr. Gunby’s case,

render this case the type of “emotional publicity” case that infects the D.C. venire

with a bias that cannot be cured. Nothing about the pretrial publicity and

community prejudice in this case are similar in scope or magnitude to the publicity

cases that came before the D.C. Circuit in the past. To apply the same principles of

protection to this Capitol case as prior D.C. publicity cases would be

constitutionally insufficient to preserve the Mr. Gunby’s Fifth and Sixth

Amendment rights.




3
    Id. at 675.
       Case 1:21-cr-00626-PLF Document 36 Filed 10/07/22 Page 17 of 20




      Therefore, the D.C. Circuit’s usual practice of deferring a motion for transfer

until after voir dire is insufficient to protect Mr. Gunby, and may instead result in a

false sense of security with a jury panel that is inherently incapable of unbiased

adjudication. The only remedy to cure the prejudicial pretrial publicity and

community prejudice against the defendant is to transfer this matter to an

alternative venue.

      B. South Carolina is more diverse than D.C.
      Not only does jury diversity underpin the constitutional guarantee of a fair

trial and ensure that juries represent the “the voice of the community,” research

shows that diverse juries actually do a better job. A 2004 study found that diverse

groups “deliberated longer and considered a wider range of information than did

homogeneous groups.” In fact, simply being part of a diverse group seems to make

people better jurors; for example, when white people were members of racially

mixed juries, they “raised more case facts, made fewer factual errors, and were

more amenable to discussion of race-related issues.” Another study found that

people on racially mixed juries “are more likely to respect different racial

perspectives and to confront their own prejudice and stereotypes when such beliefs

are recognized and addressed during deliberations.” In addition, the verdicts that

diverse juries render are more likely to be viewed as legitimate by the public.
        Case 1:21-cr-00626-PLF Document 36 Filed 10/07/22 Page 18 of 20




      South Carolina is a much larger jurisdiction than Washington D.C. South

Carolina is also a convenient forum since Mr. Gunby resides in the District of

South Carolina. Witnesses for the Mr. Gunby’s defense also reside in the District

of South Carolina.

      While pretrial publicity was also prevalent in South Carolina, it did not

compare to the level of political publicity experienced in Washington D.C., nor

was the community prejudiced through the closure of their streets or through

continuous National Guard presence. South Carolina residents have not been

warned that domestic terrorists are threatening their hometown. South Carolina is

not an insulated and nearly totally homogenous political community. South

Carolina residents are not employed by the federal government in any statistically

significant rates. And, the parties are significantly more likely to find an unbiased

jury panel in a community where internet access and media exposure is more

limited. The parties are much more likely to find objective jurors in South Carolina

than in Washington D.C. Applying the reasoning of the United States Supreme

Court, as well as the highest state appellate courts, transfer of this case is the only

appropriate relief.

      IV. CONCLUSION
      Mr. Gunby has demonstrated that he faces significant prejudice, hatred and

hostility in the District of Columbia, prohibitive of a fair and impartial jury trial.
       Case 1:21-cr-00626-PLF Document 36 Filed 10/07/22 Page 19 of 20




He rightfully has invoked his constitutional guarantee to a fair trial by an impartial

jury under the Fifth and Sixth Amendments, and aptly requests a transfer of venue

to the District of South Carolina, Greenville Division, pursuant to Rule 21(a) of the

Federal Rules of Criminal Procedure.
       Case 1:21-cr-00626-PLF Document 36 Filed 10/07/22 Page 20 of 20




CERTIFICATE OF ELECTRONIC SERVICE
I hereby certify and attest that on October 7, 2022, I caused this document to be
uploaded and filed in this case, using the electronic filing system established by the
Court. By doing so, I automatically served the document to counsel for the United
States.


                                       /s/ John M. Pierce
                                       John M. Pierce
